






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00043-CR






Ex parte Saul Salinas






FROM THE DISTRICT COURT OF SAN SABA COUNTY, 33RD JUDICIAL DISTRICT

NO. 5141, HONORABLE GUILFORD L. JONES III, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Saul Salinas appeals from the denial of relief in his habeas corpus proceeding
challenging the order placing him on deferred adjudication community supervision.  Salinas pleaded
guilty to three counts of aggravated sexual assault of a child younger than 14 years of age.  See
Tex.&nbsp;Penal Code Ann. §&nbsp;22.021 (West Supp. 2008).  Adjudication of guilt was deferred for ten years
pending Salinas's satisfactory completion of community supervision.  After the State filed a motion
to adjudicate, Salinas filed this petition contending that his plea was involuntary and any proceedings
based thereon are void because (1) there is no signed jury waiver in the record, see Tex. Code Crim.
Proc. Ann. art. 26.13(d) (West 2009); and (2) he was not fully informed before pleading guilty of the
consequences in the event of an adjudication of guilt, including that he would be required to register
as a sex offender, see id. art. 42.12, § 5(a), (b) (West Supp. 2008).  We affirm.

		An applicant seeking habeas corpus relief on the basis of an involuntary guilty plea
must prove his claim by a preponderance of the evidence.  Ex parte Morrow, 952 S.W.2d 530, 535
(Tex. Crim. App. 1997).  An appellate court reviewing a trial court's ruling on a habeas claim must
review the record evidence in the light most favorable to the trial court's ruling and must uphold that
ruling absent an abuse of discretion.  Kniatt v. State, 206 S.W.3d 657, 664 (Tex. Crim. App. 2006). 
A guilty plea, to be consistent with due process of law, must be entered knowingly, intelligently, and
voluntarily.  Id. (citing Boykin v. Alabama, 395 U.S. 238, 242 (1969)).  To be "voluntary," a guilty
plea must be the expression of the defendant's own free will and must not be induced by threats,
misrepresentations, or improper promises.  Id. (citing Brady v. United States, 397 U.S. 742, 755
(1970)).  A defendant's sworn representation that his guilty plea is voluntary "constitute[s] a
formidable barrier in any subsequent collateral proceedings."  Id. (quoting Blackledge v. Allison,
431&nbsp;U.S. 63, 73-74 (1977)).  Mere procedural irregularities such as noncompliance with a statutory
process--including the failure to obtain the defendant's signature on a waiver of jury trial--do not
alone amount to deprivation of constitutional rights.  Ex parte Sadberry, 864 S.W.2d 541, 543
(Tex.&nbsp;Crim. App. 1993).

		Salinas contends that "there is no signed waiver of jury trial among the papers
of&nbsp;this&nbsp;cause."  There is a document entitled Defendant's Plea of Guilt, Waiver, Stipulation
and&nbsp;Judicial&nbsp;Confession, dated November 4, 1999, bearing a signature on the line for defendant of
"Saul Salinas," that contains the following language:  "I have the right to be confronted with the
witnesses against me whether I have a trial before the court or the jury. . . .  I desire to waive and do
waive the&nbsp;following right: . . . Waive the right of trial by jury . . . ."  This waiver of the right to trial
by jury is signed by the defendant, his trial attorney, the State's attorney, and the trial court.  The
document is sworn to by Salinas, and his trial attorney signed a statement approving of Salinas's
actions, including the waiver of his right to a jury trial.  This document satisfies the statutory
requirements for waivers of the right to trial by jury.  See Tex. Code Crim. Proc. Ann. art. 1.13(a)
(West 2005). (1)  We find no error or deprivation of constitutional rights.

		Salinas next complains that the court failed to fully admonish him of the
consequences of his plea in the event of an adjudication of guilt and that he was not advised of
the&nbsp;effects of the sex offender registration statute until after the plea was accepted and judgment
pronounced and he was being advised by the community supervision officer as to the terms
of&nbsp;probation.  He contends that this violates the requirements of Texas Code of Criminal Procedure
article 42.12, sections 5(a) and 5(b).  Article 26.13 lists some consequences of a guilty plea. 
Article&nbsp;26.13(a)(5) requires the court to admonish a defendant before accepting his plea "that
the&nbsp;defendant will be required to meet the registration requirements of Chapter 62, if the defendant
is convicted of or placed on deferred adjudication for an offense for which a person is subject
to&nbsp;registration under that chapter."  Id. art. 26.13(a)(5).  The record contains documents entitled
Admonishments Under V.A.C.C.P. Art. 62.02, et seq., Terms and Conditions of Probation of
Saul&nbsp;Salinas, and a Sex Offender Supplement Probation Terms and Conditions for Sex Offenders. 
Each of these documents is dated November 4, 1999, contains a signature in the line for defendant
or probationer, and was filed by the clerk at noon on November 4, 1999.  The record does not reveal
in what order these documents were signed.  Article 42.12, section 5(a) specifically states that
"[a]fter placing the defendant on community supervision under this section , the judge shall inform
the defendant orally or in writing of the possible consequences under Subsection (b) of this section
of a violation of community supervision."  Tex. Code Crim. Proc. Ann. art. 42.12, § 5(a) (emphasis
added).  Further, article 26.13 requires only substantial compliance with article 26.13(a)(5) and, more
importantly, "[t]he failure of the court to comply with Subsection (a)(5) is not a ground for
the&nbsp;defendant to set aside the conviction, sentence, or plea."  Id. art. 26.13(h).  Salinas's allegations
regarding the completeness and the timing of the admonitions regarding sex-offender registration
do not show actions entitling him to habeas relief.

		Salinas also argues that his plea was invalid because there is nothing in the record
showing a recommended punishment to be imposed if he was later adjudicated guilty.  He contends
that this amounted to a failure of the court to inform him of the possible consequences of failure to
comply with the terms of his community supervision.

		A trial court must inform the defendant of the consequences of a probation violation. 
See id. art. 42.12, § 5(a); (2) Ray v. State, 919 S.W.2d 125, 126 (Tex. Crim. App. 1996).  The code
describes the consequences of a probation violation as follows: 

	On violation of a condition of community supervision imposed under Subsection (a)
of this section, the defendant may be arrested and detained as provided in Section 21
of this article.  The defendant is entitled to a hearing limited to the determination by
the court of whether it proceeds with an adjudication of guilt on the original charge. 
This determination is reviewable in the same manner as a revocation hearing
conducted under Section 21 of this article in a case in which an adjudication of guilt
had not been deferred.  After an adjudication of guilt, all proceedings, including
assessment of punishment, pronouncement of sentence, granting of community
supervision, and defendant's appeal continue as if the adjudication of guilt had not
been deferred.  A court assessing punishment after an adjudication of guilt of a
defendant charged with a state jail felony may suspend the imposition of the sentence
and place the defendant on community supervision or may order the sentence to be
executed, regardless of whether the defendant has previously been convicted of a
felony.


Tex. Code Crim. Proc. Ann. art. 42.12, § 5(b).  A statement of a recommended punishment upon
revocation is not expressly required.  The case Salinas cites, Ex parte Delaney, stands for the
proposition that, unless the defendant knows what punishment will be recommended upon
revocation of his deferred adjudication community supervision, a pretrial waiver of the right to
appeal cannot be made knowingly regarding the events at the punishment phase.  207 S.W.3d 794,
799-800 (Tex. Crim. App. 2006) (without agreed punishment, pretrial waiver of right to appeal
would be made in ignorance of "unanticipated errors [that] may occur at the punishment phase
of&nbsp;trial")  The Delaney court did not hold, however, that the guilty plea itself was void.  See id. 
When the legislature listed the consequences that must be conveyed to the defendant, it did not
include a punishment recommendation in the required information.  See&nbsp;Tex. Code Crim. Proc. Ann.
art. 42.12, § 5(b).  We are not persuaded to add an admonishment to the legislatively determined
requirements.  The trial court did not abuse its discretion by failing to give a non-mandatory
admonishment.

		The record contains a document entitled Written Admonishments on Guilty Plea
(Deferred), dated November 4, 1999, and containing a signature on the line for defendant.  It states:


	I also understand that on violation of a condition of probation imposed under
V.A.C.C.P. Article 42.12 Section 5, I may be arrested and detained as provided in
section 21 of that article. . . .  I further understand that after an adjudication of guilt,
all proceedings, including assessment of punishment, pronouncement of sentence,
granting of probation, and the defendant's appeal continue as if the adjudication of
guilt had not been deferred.


This language tracks the language of subsection (b).  See id.  This admonishment was repeated in
the judgment assessing deferred adjudication community supervision.  As required by statute, Salinas
was informed that, upon revocation of community supervision, the assessment of punishment would
continue as if the adjudication of guilt had not been deferred.  Defendant's Plea of Guilty, Waiver,
Stipulation and Judicial Confession, signed by Salinas on November 4, 1999, sets out the range of
punishment.  We find no error or constitutional rights violation.

		Affirmed.



						                                                                                    

						G. Alan Waldrop, Justice

Before Justices Patterson, Pemberton and Waldrop

Affirmed

Filed:   August 6, 2009

Do Not Publish
1.   Salinas contends that the requirements of article 26.13(d) were not fulfilled because there
is no signed waiver of jury trial in the record.  See Tex. Code Crim. Proc. Ann. art. 26.13(d)
(West&nbsp;2009).  Even if there were not a signed jury waiver, this argument would fail because
article&nbsp;26.13(d) does not require a signed jury waiver.  See id.  Article 26.13(d) governs written
acknowledgments of admonitions, not waivers, regarding various rights other than the right to
jury&nbsp;trial.  See id. art.&nbsp;26.13(a), (d).
2.   The statute provides in relevant part as follows:


	After placing the defendant on community supervision under this section, the judge
shall inform the defendant orally or in writing of the possible consequences
under&nbsp;Subsection (b) of this section of a violation of community supervision.  If the
information is provided orally, the judge must record and maintain the judge's
statement to the defendant.  The failure of a judge to inform a defendant of possible
consequences under Subsection (b) of this section is not a ground for reversal unless
the defendant shows that he was harmed by the failure of the judge to provide the
information.


Id. art. 42.12, § 5(a) (West Supp. 2008). 


